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                 IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                             Case No. 2:20-cr-00427-FMO
      UNITED STATES OF AMERICA,
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                        Plaintiff,
14                                             ORDER OF DETENTION
                   v.
15
      JHONIER ALEXIS RAMIREZ,
16
17                      Defendant.
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20         On September 25, 2020 ,Defendant made his initial appearance on the
21   complaint filed in this matter. Mark Chambers ofthe Indigent Defense Panel was
22   appointed to represent Defendant.
23          ~     On motion by the Government or on the Court's own motion
24   [18 U.S.C. § 31420(2)] in a case allegedly involving a serious risk that the
25   defendant will flee.
26         The Court concludes that the Government is not entitled to a rebuttable
27   presumption that no condition or combination of conditions will reasonably assure
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 1   the defendant's appearance as required and the safety or any person or the

 2   community [18 U.S.C. § 3142(e)(2)].

 3           The Court finds that no condition or combination of conditions will

 4   reasonably assure: ~ the appearance of the defendant as required.

 5                        ~ the safety of any person or the community.
 6           The Court has considered:(a)the nature and circumstances of the offenses)

 7   charged, including whether the offense is a crime of violence, a Federal crime of

 8   terrorism, or involves a minor victim or a controlled substance, firearm, explosive,

 9   or destructive device;(b)the weight of evidence against the defendant;(c)the

10   history and characteristics ofthe defendant; and (d)the nature and seriousness of

11   the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also

12   considered all the evidence adduced at the hearing, the arguments of counsel, and

13   the report and recommendation ofthe U.S. Pretrial Services Agency.

14           The Court bases is conclusions as to fight risk on the following:

15                 ~     Defendant is a citizen of El Salvador and has significant foreign
16   ties.

17                 ~     Defendant has previously been deported.
18                 ❑
                   D     Defendant does not have bail resources.
19           The Court bases its conclusions as to danger to the community on the

20   following:

21                 ~     The allegation in the Information regarding Defendant's
22   possession of a firearm and ammunition.

23           IT IS THEREFORE ORDERED that the defendant be detained until trial.

24   The defendant will be committed to the custody of the Attorney General for

25   confinement in a corrections facility separate, to the extent practicable, from

26   persons awaiting or serving sentences or being held in custody pending appeal.

27   The defendant will be afforded reasonable opportunity for private consultation

28   with counsel. On order of a Court of the United States or on request of any

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 1     attorney for the Government, the person in charge of the corrections facility in
 2     which defendant is confined will deliver the defendant to a United States Marshal
 3     for the purpose of an appearance in connection with a court proceeding.
 4 [18 U.S.C. § 3142(1)]
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       Dated: September 25, 2020                  PATRICIA DONAHUE
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 7                                                PATRICIA DONAHUE
                                              UNITED STATES MAGISTRATE JUDGE
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